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     Assistant Federal Defender
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4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     RYAN LEWIS
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. CR. S-05-0083 EJG
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER REGARDING
15        v.                         )     MOTION TO CORRECT PRESENTENCE
                                     )     REPORT RE DEFENDANT LEWIS
16   RYAN LEWIS et al.,              )
                                     )
17                  Defendants.      )     Date: March 17, 2006
                                     )     Time: 10:00 a.m.
18   _______________________________ )     Judge: Hon. Edward J. Garcia
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendant Ryan Lewis, through their respective attorneys,
22   that any motion to correct the final presentence report shall be filed by
23   March 3, 2006, with any responsive briefs due one week later, on March
24   10, 2006.   The date for sentencing of all defendants (March 17, 2006)
25   remains unchanged by this agreement.
26        The final presentence reports concerning defendants who have pled
27   guilty will be filed on February 17.      Under the schedule previously set,
28   any motion to correct the final PSR is to be filed by February 24.      Mr.
              Case 2:05-cr-00083-WBS Document 87 Filed 02/16/06 Page 2 of 2


1    Lewis’s attorney is unavailable during the week of February 21, however,
2    and seeks an extra week to prepare a motion if one is needed.            Counsel
3    for the government has agreed to this change, which does not affect the
4    schedule as to other defendants or change the hearing date.
5                                              Respectfully submitted,
6                                              DANIEL J. BRODERICK
                                               Acting Federal Defender
7
8    Dated: February 15, 2006                  /s/ T. Zindel
                                               TIMOTHY ZINDEL
9                                              Attorney for RYAN LEWIS
10                                             McGREGOR SCOTT
                                               United States Attorney
11
12   Dated: February 15, 2006                  /s/ T. Zindel for S. Lapham
                                               R. STEVEN LAPHAM
13                                             Assistant U.S. Attorney
14
15                                        O R D E R
16
17         As to defendant Lewis, any motion to correct the presentence report
18   shall be filed by March 3, 2006, with any opposing brief due a week later
19   on March 10, 2006.
20         IT IS SO ORDERED.
21
22   Dated:    February 15, 2006               /s/ Edward J. Garcia
                                               HON. EDWARD J. GARCIA
23                                             United States District Judge
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     Stip. in U.S.A. v. Lewis et al.           2
